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412 (1978)), an analogous civil rights suit for employment discrimination under
Title VII. But Defendant misreads Christansburg. There, the Supreme Court
simply observed that the legislative history indicated that “the fee provision was
included to ‘make it easier for a plaintiff of limited means to bring a meritorious
suit’ ” by allowing a prevailing plaintiff to recover fees. Christiansburg, 434 U.S.
at 420. It does not follow from this that if the plaintiff is not of limited means, then
a prevailing defendant can recover fees from the plaintiff. To the contrary, the
Supreme Court clearly held the “a plaintiff should not be assessed his opponent’s
attorney’s fees unless a court finds that his claim was frivolous, unreasonable, or
groundless, or that the plaintiff continued to litigate after it clearly became so.”
Christiansburg, 434 U.S. at 422 (emphasis added). The Ninth Circuit has likewise
observed that “[a]ttorney’s fees under § 12205 should be awarded to a prevailing
defendant only if “ ‘the plaintiff’s action was frivolous, unreasonable, or without
foundation.’ ” ” Brown v. Lucky Stores, Inc., 246 F.3d 1182, 1190 (9th Cir. 2001)
(internal citations omitted); see also Summers v. A. Teichert & Son, Inc., 127 F.3d
1150, 1154 (9th Cir.1997) (“attorney’s fees should be granted to a defendant in a
civil rights action only ‘upon a finding that the plaintiff’s action was frivolous,
unreasonable, or without foundation.’ ”) (citing Christiansburg, 434 U.S. at 421).

       Applying the correct standard, the Court concludes that Defendant is not
entitled to fees because Plaintiff’s case was not frivolous, unreasonable, or without
foundation. Defendant’s outside dining tables were not ADA-complaint, and the
evidence regarding whether there was compliant indoor seating before Plaintiff
brought suit was inconclusive. The indoor seating claim was rendered moot
because it was undisputed that an ADA-complaint indoor table existed by the time
Defendant moved for summary judgment. To find Plaintiff’s ADA claims frivolous
here would defy the Ninth Circuit’s admonition against “engag[ing] in post hoc
reasoning.” Kohler v. Bed Bath & Beyond of California, LLC, 780 F.3d 1260, 1266
(9th Cir. 2015) (citation omitted).

                                   CONCLUSION

         For the above reasons, Defendant’s Motion for Attorneys’ Fees is DENIED.

         IT IS SO ORDERED.




 CV-90 (12/02)              CIVIL MINUTES – GENERAL                  Initials of Deputy Clerk CB

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